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 1   Peter Strojnik, State Bar No. 6464
     STROJNIK P.C.
 2   2375 East Camelback Road Suite 600
 3   Phoenix, Arizona 85016
     Telephone: (602) 524-6602
 4   ADA@strojnik.com
     Attorneys for Plaintiff
 5
 6                         UNITED STATES DISTRICT COURT
                               DISTRICT OF ARIZONA
 7
 8                                                  Case No:

 9   FERNANDO GASTELUM,                                VERIFIED COMPLAINT
10
                                       Plaintiff,      1. Americans with Disabilities
11                                                                   Act
                                                              2. Negligence
12                       vs.                                   3. Negligent
13                                                            Misrepresentation
     CHAMPION HOTEL INVESTMENT OF                          4. Failure to Disclose
14   PHOENIX LLC,                                       5. Fraud / Consumer Fraud
                           Defendant.
15
                                                        JURY TRIAL REQUESTED
16
17
                                      INTRODUCTION
18
     1. Plaintiff brings this action pursuant to the Americans with Disabilities Act, 42
19
20      U.S.C. §12101 et seq. and corresponding regulations, 28 CFR Part 36 and

21      Department of Justice Standards for Accessible Design (“ADA”).
22
     2. Plaintiff’s left leg is amputated below the knee. Plaintiff moves with the aid of
23
24      a wheelchair or a prosthetic leg. Plaintiff suffers from a disability as this term
25      is defined in 42 U.S.C. 12102 and 28 CFR §36.105 (c)(1)(i) which includes,
26
        inter alia, “walking, standing, sitting, reaching, lifting [and] bending” and other
27
28
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 1      activities. A partial missing limb “substantially limit[s] musculoskeletal
 2
        function” as a matter of law. 28 CFR § 36.105 (d)(2)(iii)(D).
 3
     3. Plaintiff is constantly and relentlessly segregated and discriminated against,
 4
 5      excluded, denied equal services, or otherwise treated differently than other
 6
        individuals because of his disability, and has been denied the opportunity to
 7
 8
        participate in or benefit from services, facilities and opportunities available

 9      people without disabilities.
10
     4. Plaintiff incorporates herein Congressional Findings and Purpose set forth in 42
11
12      U.S.C. §12-101 and 28 CFR §36.101.

13   5. Plaintiff is being subjected to discrimination on the basis of disability in
14
        violation of Subchapter III of the Americans with Disabilities Act or has
15
16      reasonable ground to believe that that he is about to be subjected to

17      discrimination in violation of 42 U.S.C. §12183.
18
     6. Plaintiff alleges that he has actual notice that Defendant has failed to comply
19
20      with Subchapter III of the ADA, 28 CFR 36 and the 2010 Standards of

21      Accessibility Design (“2010 Standards”) as more fully alleged below.
22
     7. Plaintiff alleges that he has no obligation to engage in futile gestures as
23
24      referenced in 42 U.S.C. §12188(A)(1) and 28 C.F.R. Subpart E

25   8. Defendant has discriminated against Plaintiff by the following actions and
26
        failures to act –
27
28


                                           2
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 1      a. Failing to make reasonable modifications in policies, practices, or
 2
           procedures which are necessary to afford Plaintiff and others similarly
 3
           situated accessibility to Defendant’s place of public accommodation, thus
 4
 5         violating 42 U.S.C. §12182(b)(2)(A)(ii) and 28 C.F.R. §36.302(a); and
 6
        b. Failing to take such steps as may be necessary to ensure that no individual
 7
 8
           with a disability is excluded, denied services, segregated or otherwise treated

 9         differently than other individuals because of the absence of auxiliary aids
10
           and services, thus violating 42 U.S.C. §12182(b)(2)(A)(iii); and
11
12      c. Failing to remove architectural barriers where such removal is readily

13         achievable, thus violating 42 U.S.C. §12182(b)(2)(A)(iii), 28 CFR 36 and
14
           the 2010 Standards..
15
16                                       PARTIES

17   9. Plaintiff is a disabled person and a committed individual to advance the time
18
        when places of public accommodations will be compliant with the ADA.
19
20      Plaintiff resides in Casa Grande, Arizona.

21   10.Plaintiff’s disability includes the amputation of the left leg below the knee.
22
        Plaintiff moves with the use of a wheelchair, walker and/or a prostethis.
23
24   11.Defendant CHAMPION HOTEL INVESTMENT OF PHOENIX LLC owns

25      and/or operates a hotel, Holiday Inn Phoenix-West, at 1500 N. 51st Avenue,
26
        Phoenix, AZ which is a public accommodation pursuant to 42 U.S.C. §
27
28


                                            3
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 1      12181(7)(A) which offers public lodging services See 28 CFR §36.104 and a
 2
        listing of public accommodations in 42 U.S.C. §12181(7).
 3
 4
                                      JURISDICTION

 5   12.District Court has jurisdiction over this case or controversy by virtue of 28
 6
        U.S.C. §§ 28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.
 7
 8
     13.Plaintiff brings this action as a private attorney general who has been personally

 9      subjected to discrimination on the basis of his disability, see 42 U.S.C.12188
10
        and 28 CFR §36.501.
11
12   14.Venue is proper pursuant to 28 U.S.C. § 1391.

13                       STANDING TO SUE JURISDICTION
14
     15. Plaintiff reviewed 3rd party and 1st party lodging websites to book an
15
16      ambulatory and wheelchair accessible room. Plaintiff was denied equal

17      opportunity to use and enjoyment of a critical public accommodation through
18
        Defendant’s acts of discrimination and segregation alleged below.
19
20   16.Plaintiff intends to book a room at the Defendant’s hotel once Defendant has

21      removed all accessibility barriers, including the ones not specifically referenced
22
        herein, and has fully complied with the ADA.
23
24   17. Because of Defendant’s denial of Plaintiff’s use and enjoyment of a critical

25      public accommodation through Defendant’s acts of discrimination and
26
        segregation, he is deterred from visiting that accommodation by accessibility
27
28      barriers and other violations of the ADA.


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 1   18.Defendant has denied Plaintiff -
 2
           a. The opportunity to participate in or benefit from the goods, services,
 3
              facilities, privileges, advantages, or accommodations at its hotel.
 4
 5         b. The right to be included in the population at large who benefits from
 6
              Defendant’s hotel without being segregated because his disability.
 7
 8
     19.Plaintiff intends to book a room at Defendant’s hotel in the future but he will

 9      likely suffer repeated injury unless and until the barriers of accessibility and
10
        ambulatory and wheelchair accessibility barriers have been removed.
11
12                          CONTINUING JURISDICTION

13   20.ADA violations which form the subject matter of this Verified Complaint
14
        change frequently due to regular maintenance, remodels, repairs, and normal
15
16      wear and tear.

17   21.Defendant’s ADA Violations are of the type that can reasonably be expected to
18
        start up again, allowing Defendant to be free to return to the old ways' after the
19
20      threat of a lawsuit had passed.

21   22.If one or more ADA violation are cured, Plaintiff alleges that they were cured
22
        and timed to anticipate the current lawsuit, and not as a good faith effort to
23
24      comply with the ADA.

25   23.To remedy the violations of 28 CFR 36.302(e), Defendant would be required
26
        not only to modify all 1st and 3rd party lodging websites, but would be required
27
28      to do so truthfully and accurately.


                                              5
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 1
 2
                                        COUNT ONE
 3
                      Violation of Plaintiff’s Civil Rights under the ADA
 4
 5   24.Plaintiff realleges all allegations heretofore set forth.
 6
     25.By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
 7
 8
        particularly applicable to his mobility, both ambulatory and wheelchair assisted.

 9   26.On or about October 18, 2017 Plaintiff intended to visit Phoenix and spend the
10
        night there. He visited a 3rd party website www.expedia.com to book a room.
11
12   27.3rd party website disclosed general availability and description of Defendant’s

13      hotel.
14
     28.3rd party website failed to identify and describe mobility related accessibility
15
16      features and guest rooms offered through its reservations service in enough

17      detail to reasonably permit Plaintiff to assess independently whether
18
        Defendant’s hotel meets his accessibility needs.
19
20   29.3rd party website failed to disclose the following accessibility features in

21      enough detail to reasonably permit Plaintiff to assess independently whether
22
        Defendant’s hotel and guest rooms meets his accessibility needs:
23
24         a. Whether accessible routes comply with § 206 of the 2010 Standards; and

25         b. Whether operable parts on accessible elements, accessible routes and
26
                 accessible rooms comply with §§205 and 803 of the 2010 Standards; and
27
28


                                             6
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 1       c. Whether any accessible means of egress comply with §207 of the 2010
 2
            Standards.
 3
         d. Whether parking spaces comply with §§208 and 502 of the 2010
 4
 5          Standards; and
 6
         e. Whether passenger loading zones comply with §§209 and 503 of the
 7
 8
            2010 Standards; and

 9       f. Whether any drinking fountains comply with §211 of the 2010 Standards;
10
            and
11
12       g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804

13          of the 2010 Standards; and
14
         h. Whether toilet facilities and bathing facilities comply with §213 of the
15
16          2010 Standards; and

17       i. Whether any washing machines and clothes dryers comply with §§214
18
            and 611 of the 2010 Standards; and
19
20       j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;

21          and
22
         k. Whether dining surfaces and work surfaces comply with §§226 and 902
23
24          of the 2010 Standards; and

25       l. Whether sales and service elements comply with §227 of the 2010
26
            Standards; and
27
28


                                         7
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 1       m. Whether any saunas and steam rooms comply with §§241 and 612 of the
 2
            2010 Standards; and
 3
         n. Whether any swimming pools, wading pools and spas comply with
 4
 5          §§242 and 1009 of the 2010 Standards; and
 6
         o. Whether floor and ground surfaces comply with §302 of the 2010
 7
 8
            Standards; and

 9       p. Whether changes in level comply with §303 of the 2010 Standards; and
10
         q. Whether turning spaces comply with § 304 of the 2010 Standards; and
11
12       r. Whether floor and ground spaces comply with §305 of the 2010

13          Standards; and
14
         s. Whether knee and toes clearances comply with §306 of the 2010
15
16          Standards; and

17       t. Whether protruding objects comply with §307 of the 2010 Standards; and
18
         u. Whether the reach ranges comply with §308 of the 2010 Standards; and
19
20       v. Whether the operating parts on accessible features comply with §309 of

21          the 2010 Standards; and
22
         w. Whether accessible routes comply with §402 of the 2010 Standards; and
23
24       x. Whether walking surfaces comply with §403 of the 2010 Standards; and

25       y. Whether doors, doorways and gates comply with §404 of the 2010
26
            Standards; and
27
28       z. Whether ramps comply with § 405 of the 2010 Standards; and


                                       8
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 1         aa. Whether curb ramps comply with §406 of the 2010 Standards; and
 2
           bb.Whether any elevators comply with §407 of the 2010 Standards; and
 3
           cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
 4
 5         dd.Whether any stairways comply with §504 of the 2010 Standards; and
 6
           ee. Whether handrails on elements requiring handrails comply with §505 of
 7
 8
              the 2010 Standards; and

 9         ff. Whether the plumbing facilities comply with Chapter 6 of the 2010
10
              Standards with respect to all the following subchapters of Chapter 6: §§
11
12            602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water

13            closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
14
              607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats
15
16            in bathtubs and shower compartments), and

17         gg.Whether service counters comply with 904 of the 2010 Standards.
18
     30.Thereafter,      Plaintiff   consulted   Defendant’s     1st   party     website
19
20      www.holidayinn.com to determine the information unavailable from the third-

21      party website.
22
     31.1st party website failed to identify and describe mobility related accessibility
23
24      features and guest rooms offered through its reservations service in enough

25      detail to reasonably permit Plaintiff to assess independently whether
26
        Defendant’s hotel meets his accessibility needs.
27
28


                                            9
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 1   32.In particular, 1st party website failed to disclose the following accessibility
 2
        features in enough detail to reasonably permit Plaintiff to assess independently
 3
        whether Defendant’s hotel and guest rooms meets his accessibility needs:
 4
 5         a. Whether accessible routes comply with § 206 of the 2010 Standards; and
 6
           b. Whether operable parts on accessible elements, accessible routes and
 7
 8
              accessible rooms comply with §§205 and 803 of the 2010 Standards; and

 9         c. Whether any accessible means of egress comply with §207 of the 2010
10
              Standards.
11
12         d. Whether parking spaces comply with §§208 and 502 of the 2010

13            Standards; and
14
           e. Whether passenger loading zones comply with §§209 and 503 of the
15
16            2010 Standards; and

17         f. Whether any drinking fountains comply with §211 of the 2010 Standards;
18
              and
19
20         g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804

21            of the 2010 Standards; and
22
           h. Whether toilet facilities and bathing facilities comply with §213 of the
23
24            2010 Standards; and

25         i. Whether any washing machines and clothes dryers comply with §§214
26
              and 611 of the 2010 Standards; and
27
28


                                           10
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 1       j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
 2
            and
 3
         k. Whether dining surfaces and work surfaces comply with §§226 and 902
 4
 5          of the 2010 Standards; and
 6
         l. Whether sales and service elements comply with §227 of the 2010
 7
 8
            Standards; and

 9       m. Whether any saunas and steam rooms comply with §§241 and 612 of the
10
            2010 Standards; and
11
12       n. Whether any swimming pools, wading pools and spas comply with

13          §§242 and 1009 of the 2010 Standards; and
14
         o. Whether floor and ground surfaces comply with §302 of the 2010
15
16          Standards; and

17       p. Whether changes in level comply with §303 of the 2010 Standards; and
18
         q. Whether turning spaces comply with § 304 of the 2010 Standards; and
19
20       r. Whether floor and ground spaces comply with §305 of the 2010

21          Standards; and
22
         s. Whether knee and toes clearances comply with §306 of the 2010
23
24          Standards; and

25       t. Whether protruding objects comply with §307 of the 2010 Standards; and
26
         u. Whether the reach ranges comply with §308 of the 2010 Standards; and
27
28


                                         11
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 1       v. Whether the operating parts on accessible features comply with §309 of
 2
            the 2010 Standards; and
 3
         w. Whether accessible routes comply with §402 of the 2010 Standards; and
 4
 5       x. Whether walking surfaces comply with §403 of the 2010 Standards; and
 6
         y. Whether doors, doorways and gates comply with §404 of the 2010
 7
 8
            Standards; and

 9       z. Whether ramps comply with § 405 of the 2010 Standards; and
10
         aa. Whether curb ramps comply with §406 of the 2010 Standards; and
11
12       bb.Whether any elevators comply with §407 of the 2010 Standards; and

13       cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
14
         dd.Whether any stairways comply with §504 of the 2010 Standards; and
15
16       ee. Whether handrails on elements requiring handrails comply with §505 of

17          the 2010 Standards; and
18
         ff. Whether the plumbing facilities comply with Chapter 6 of the 2010
19
20          Standards with respect to all the following subchapters of Chapter 6: §§

21          602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
22
            closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
23
24          607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats

25          in bathtubs and shower compartments), and
26
         gg.Whether service counters comply with 904 of the 2010 Standards.
27
28


                                        12
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 1   33.Thereafter Plaintiff called Defendant’s hotel to inquire whether it was
 2
        compliant with the ADA and suitable for Plaintiff’s accessibility needs.
 3
     34.Plaintiff spoke with hotel reservations clerk, Deanna. Plaintiff specifically
 4
 5      inquired whether Defendant’s hotel was compliant with the Americans with
 6
        Disabilities Act and compliant with the specific requirements of accessibility.
 7
 8
     35.Reservations clerk responded that the hotel had a rolling shower and lower

 9      cabinetry was compliant with the Americans with Disabilities Act except for
10
        the pool area which is not ADA accessible.
11
12   36.Plaintiff subsequently visited the hotel to independently verify that it was, at

13      least on the outside, suitable to accommodate his disability.
14
     37.Plaintiff noted that the hotel was not compliant with the ADA and was replete
15
16      with accessibility barriers in the details which include, without limitation, the

17      following areas of non-compliance:
18
              a. Insufficient number of accessible parking spaces.
19
20            b. Missing access aisle for accessible parking space on west side of

21                building..
22
              c. Both accessible parking spaces near the street entrance have a running
23
24                slope steeper than 1:48 inches.

25            d. The access aisle near the street entrance has a running slope steeper
26
                  than 1:48 inches.
27
28


                                           13
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 1          e. Access aisle on the west side has a cross slope steeper than 1:48
 2
               inches.
 3
            f. Parking on east side has a cross slope steeper than 1:48 inches.
 4
 5          g. Multiple accessible parking spots have signs that are below the
 6
               required 60 inches, and one space on the west side of building that is
 7
 8
               missing a sign.

 9          h. Passenger loading zone is not marked with an access aisle.
10
            i. Accessible route on the west side of building has a running slope
11
12             steeper than 1:20 inches, and a cross slope steeper than 1:48 inches.

13          j. Accessible route on the east side of building has a running slope
14
               steeper than 1:20 inches.
15
16          k. Accessible route on the south side of building has a running slope

17             steeper than 1:20 inches, and a cross slope steeper than 1:48 inches.
18
            l. Ramp on east side with a running slope steeper than 1:12 inches.
19
20          m. Ramp projects into parking.

21          n. Multiple unsecured carpets.
22
            o. Accessible route with a clear width of less than 36 inches.
23
24          p. Lobby restroom door requires more than 5 pounds of force to open.

25          q. Access points with no ramps.
26
            r. Passenger loading zone bench inaccessible.
27
28          s. No street access.


                                        14
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 1             t. Lobby restroom accessible stall no turning space.
 2
               u. Other ADA violations to be discovered through a discovery process.
 3
     38.As a result of the deficiencies described above, Plaintiff declined to book a room
 4
 5      at the hotel.
 6
     39.The removal of accessibility barriers listed above is readily achievable.
 7
 8
     40.As a direct and proximate result of ADA Violations, Defendant’s failure to

 9      remove accessibility barriers prevented Plaintiff from equal access to the
10
        Defendant’s public accommodation.
11
12   WHEREFORE, Plaintiff prays for all relief as follows:

13         A. Relief described in 42 U.S.C. §2000a – 3; and
14
           B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -
15
16         C. Injunctive relief order to alter Defendant’s place of public

17             accommodation to make it readily accessible to and usable by ALL
18
               individuals with disabilities; and
19
20         D. Requiring the provision of an auxiliary aid or service, modification of a

21             policy, or provision of alternative methods, to the extent required by
22
               Subchapter III of the ADA; and
23
24         E. Equitable nominal damages in the amount of $1.00; and

25         F. For costs, expenses and attorney’s fees; and
26
           G. All remedies provided for in 28 C.F.R. 36.501(a) and (b).
27
28


                                           15
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 1                                       COUNT TWO
                                          Negligence
 2
 3   41.Plaintiff realleges all allegations heretofore set forth.
 4
     42.Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that
 5
 6
          Plaintiff as a disabled individual would have full and equal access to the public

 7        accommodation.
 8
     43.Defendant breached this duty.
 9
10   44.Defendant is or should be aware that, historically, society has tended to isolate

11        and segregate individuals with disabilities, and, despite some improvements,
12
          such forms of discrimination against individuals with disabilities continue to be
13
14        a serious and pervasive social problem1.

15   45.Defendant knowingly and intentionally participated in this historical
16
          discrimination against Plaintiff, causing Plaintiff damage.
17
18   46.Discrimination against individuals with disabilities persists in the use and

19        enjoyment of critical public accommodations2.
20
     47.Defendant’s knowing and intentional persistence in discrimination against
21
22        Plaintiff is alleged, causing Plaintiff damage.

23   48.Individuals with disabilities, including Plaintiff, continually encounter various
24
          forms of discrimination, including outright intentional exclusion, the
25
26
27   1
         42 U.S.C. § 12101(a)(2)
28   2
         42 U.S.C. §12101(a)(3)

                                             16
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 1        discriminatory effects of architectural, overprotective rules and policies, failure
 2
          to make modifications to existing facilities and practices, exclusionary
 3
          qualification standards and criteria, segregation, and relegation to lesser
 4
 5        services, programs, activities, benefits, jobs, or other opportunities3.
 6
     49.Defendant’s knowing and intentional discrimination against Plaintiff reinforces
 7
 8
          above forms of discrimination, causing Plaintiff damage.

 9   50.Census data, national polls, and other studies have documented that people
10
          with disabilities, as a group, occupy an inferior status in our society, and are
11
12        severely disadvantaged socially, vocationally, economically, and

13        educationally4.
14
     51.Defendant’s knowing and intentional discrimination has relegated Plaintiff to
15
16        an inferior status in society, causing Plaintiff damage.

17   52.The Nation’s proper goals regarding individuals with disabilities are to assure
18
          equality of opportunity, full participation, independent living, and economic
19
20        self-sufficiency for such individuals5.

21   53.Defendant’s knowing and intentional discrimination has worked counter to our
22
          Nation’s goals of equality, causing Plaintiff damage.
23
24
25
26   3
         42 U.S.C. §12101(a)(5)
27   4
         42 U.S.C. §12101(a)(6)
28   5
         42 U.S.C. §12101(a)(7)

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 1   54.Continued existence of unfair and unnecessary discrimination and prejudice
 2
          denies people with disabilities the opportunity to compete on an equal basis and
 3
          to pursue those opportunities for which our free society is justifiably famous,
 4
 5        and costs the United States billions of dollars in unnecessary expenses resulting
 6
          from dependency and nonproductivity6.
 7
 8
     55.Defendant’s knowing and intentional unfair and unnecessary discrimination

 9        against Plaintiff demonstrates Defendant’s knowing and intentional damage to
10
          Plaintiff.
11
12   56.Defendant’s breach of duty caused Plaintiff damages including, without

13        limitation, the feeling of segregation, discrimination, relegation to second class
14
          citizen status the pain, suffering and emotional damages inherent to
15
16        discrimination and segregation and other damages to be proven at trial.

17   57.By violating Plaintiff’s civil rights, Defendant engaged in intentional,
18
          aggravated and outrageous conduct.
19
20   58.The ADA has been the law of the land since 1991, but Defendant engaged in a

21        conscious action of a reprehensible character, that is, Defendant denied Plaintiff
22
          his civil rights, and cause him damage by virtue of segregation, discrimination,
23
24        relegation to second class citizen status the pain, suffering and emotional

25
26
27
28   6
         42 U.S.C. §12101(a)(8)

                                             18
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 1      damages inherent to discrimination and segregation and other damages to be
 2
        proven at trial
 3
     59.Defendant either intended to cause injury to Plaintiff or defendant consciously
 4
 5      pursued a course of conduct knowing that it created a substantial risk of
 6
        significant harm to Plaintiff.
 7
 8
     60.Defendant is liable to Plaintiff for punitive damages in an amount to be proven

 9      at trial sufficient, however, to deter this Defendant and others similarly situated
10
        from pursuing similar acts.
11
12   WHEREFORE, Plaintiff prays for relief as follows:

13         A. For finding of negligence; and
14
           B. For damages in an amount to be proven at trial; and
15
16         C. For punitive damages to be proven at trial; and

17         D. For such other and further relief as the Court may deem just and proper.
18
19
                                     COUNT THREE
20                               Negligent Misrepresentation
21
     61.Plaintiff realleges all allegations heretofore set forth.
22
23   62.Defendant failed to exercise reasonable care or competence in obtaining or

24      communicating the information regarding ADA compliance to Plaintiff both on
25
        the websites and telephonically.
26
27   63.Defendant hotel supplied false information to Plaintiff for guidance in
28      Plaintiff’s business transaction, to wit: the renting of a hotel room.

                                             19
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 1   64.Defendant’s false statement was made in the course of Defendant’s business in
 2
        which Defendant has a pecuniary interest, to wit: renting of rooms.
 3
     65.Plaintiff justifiably relied on Defendant’s false information.
 4
 5   66.Plaintiff has suffered pecuniary losses as a result of his reliance on Defendant’s
 6
        false information regarding ADA compliance, to wit: he spent time, effort and
 7
 8
        resources.

 9   67.Defendant either intended to cause injury to Plaintiff or defendant consciously
10
        pursued a course of conduct knowing that it created a substantial risk of
11
12      significant harm to Plaintiff.

13   68.Defendant is liable to Plaintiff for punitive damages in an amount to be proven
14
        at trial sufficient, however, to deter this Defendant and others similarly situated
15
16      from pursuing similar acts.

17   WHEREFORE, Plaintiff prays for relief as follows:
18
           A. For finding of negligent misrepresentation; and
19
20         B. For damages in an amount to be proven at trial; and

21         C. For punitive damages to be proven at trial; and
22
           D. For such other and further relief as the Court may deem just and proper.
23
24
25                                     COUNT FOUR
                                      Failure to Disclose
26
27   69.Plaintiff realleges all allegations heretofore set forth.
28


                                             20
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 1   70.Defendant was under a duty to Plaintiff to exercise reasonable care to disclose
 2
        matters required to be disclosed pursuant to 28 CFR 36.302(e) as more fully
 3
        alleged above.
 4
 5   71.Defendant was under a duty to disclose matters to Plaintiff that Defendant knew
 6
        were necessary to be disclosed to prevent Plaintiff to be misled by partial
 7
 8
        disclosures of ADA compliance as more fully alleged above.

 9   72.The compliance with the ADA is a fact basic to the transaction.
10
     73.Defendant failed to make the necessary disclosures.
11
12   74.As a direct consequence of Defendant’s failure to disclose, Plaintiff visited the

13      hotel, but did not book a room because of its non-compliance with the ADA.
14
     75.Plaintiff has been damaged by Defendant’s non-disclosure.
15
16   76.Defendant either intended to cause injury to Plaintiff or defendant consciously

17      pursued a course of conduct knowing that it created a substantial risk of
18
        significant harm to Plaintiff.
19
20   77.Defendant is liable to Plaintiff for punitive damages in an amount to be proven

21      at trial sufficient, however, to deter this Defendant and others similarly situated
22
        from pursuing similar acts.
23
24   WHEREFORE, Plaintiff prays for relief as follows:

25         A. For finding of that Defendant failed to disclose information; and
26
           B. For damages in an amount to be proven at trial; and
27
28         C. For punitive damages to be proven at trial; and


                                            21
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 1         D. For such other and further relief as the Court may deem just and proper.
 2
 3
                                     COUNT FIVE
 4                                       Fraud
 5
                                 Common Law and Consumer

 6   78.Plaintiff realleges all allegations heretofore set forth.
 7
     79.Defendant made a representation as alleged above.
 8
 9   80.The representation was material.

10   81.The representation was false.
11
     82.Defendant knew that the representation was false or was ignorant to the truth or
12
13      falsity thereof.

14   83.Defendant intended that Plaintiff rely on the false representation.
15
     84.Plaintiff reasonably relied on the misrepresentation.
16
17   85.Plaintiff has a right to rely on the misrepresentation.

18   86.Plaintiff was consequently and proximately damaged by Defendant’s
19
        misrepresentation.
20
21   87.Defendant’s misrepresentation was made in connection with the sale or

22      advertisement of merchandise with the intent that Plaintiff rely on it.
23
     88.Renting of hotel rooms is “merchandise” as this term is defined in A.R.S. §44-
24
25      1521(5).
26   89. Plaintiff relied on the misrepresentation.
27
     90.Plaintiff suffered an injury resulting from the false misrepresentation
28


                                             22
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 1   91.Defendant either intended to cause injury to Plaintiff or defendant consciously
 2
        pursued a course of conduct knowing that it created a substantial risk of
 3
        significant harm to Plaintiff.
 4
 5   92.Defendant is liable to Plaintiff for punitive damages in an amount to be proven
 6
        at trial sufficient, however, to deter this Defendant and others similarly situated
 7
 8
        from pursuing similar acts.

 9   WHEREFORE, Plaintiff prays for relief as follows:
10
            A. For finding of that Defendant failed to disclose information; and
11
12          B. For damages in an amount to be proven at trial; and

13          C. For punitive damages to be proven at trial; and
14
            D. For such other and further relief as the Court may deem just and proper.
15
16                             REQUEST FOR TRIAL BY JURY

17          Plaintiff respectfully requests a trial by jury in issues triable by a jury.
18          DATED this 19th day of October 2017.
19
                                          STROJNIK, P.C.
20
21
                                          Peter Strojnik, 6464
22                                        Attorneys for Plaintiff
23
                                          VERIFICATION
24
     Plaintiff verifies that he has read the forgoing and that the factual allegations stated above
25
     are true and correct to the best of his knowledge, information and belief. Plaintiff makes
26   this verification under the penalty of perjury.
27
28                                        /s/ Fernando Gastelum
                                          Authorized Electronically

                                                23
